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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                         www.flsb.uscourts.gov

In re:                                                           Case No. 20-20259-RAM
                                                                 (Jointly Administered)
It’Sugar FL I LLC, et al.,
                                                                 Chapter 11
      Debtors.
_______________________________/

              APPLICATION OF THE DEBTORS FOR AN ORDER
          AUTHORIZING THE EMPLOYMENT AND RETENTION OF
     BRIAN R. KOPELOWITZ, ESQ. AND THE LAW FIRM OF KOPELOWITZ
   OSTROW, P.A. AS SPECIAL COUNSEL NUNC PRO TUNC TO OCTOBER 1, 2020

         It’Sugar FL I LLC, It’Sugar LLC, It’Sugar Atlantic City LLC, and It’Sugar FLGC LLC

(collectively, “It’Sugar” or “Debtors”), by and through undersigned counsel, respectfully requests

an Order of the Court, pursuant to § 327(e) of Title 11 of the United States Code, Rules 2014(a)

and 2016 of the Federal Rules of Bankruptcy Procedure and Rules 2014-1 and 2016-1 of the Local

Rules for the United States Bankruptcy Court for the Southern District of Florida, authorizing the

employment and retention of Brian R. Kopelowitz, Esquire (“Special Counsel”) and the Law Firm

of Kopelowitz Ostrow, P.A. (the “Firm”) nunc pro tunc to October 1, 2020 to represent the Debtors

in this case as its special counsel, and states:

                                  JURISDICTION AND VENUE

         1.     The United States Bankruptcy Court for the Southern District of Florida (the

“Court”) has jurisdiction over the Debtors, property of the Debtors’ estates and this matter

pursuant to 28 U.S.C. § 1334. This matter is a core proceeding within the meaning of 28 U.S.C. §

157(b)(2).




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       2.      This Application is authorized by 11 U.S.C. §§ 327(e) and 330 and Rules 2014 and

2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Rules

2014-1 and 2016-1.

       3.      Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                        BACKGROUND

       4.      The Debtors operate as a single business and are known throughout the industry as

It'Sugar. It'Sugar is a specialty candy retailer whose products include bulk candy, candy in giant

packaging, and licensed and novelty items. It'Sugar’s portfolio includes approximately 100 retail

locations across 28 states.

       5.      On September 22, 2020 (the “Petition Date”), each of the Debtors filed voluntary

petitions under Chapter 11 of the United States Bankruptcy Code. Each Debtor continues to

operate its business and manage its properties as debtors-in-possession pursuant to 11 U.S.C. §§

1107(a) and 1108.

                                      RELIEF REQUESTED

       6.      The Debtors desire to employ and retain Special Counsel and the Firm nunc pro

tunc to October 1, 2020 as its special counsel for the purpose of negotiating several ongoing

distribution agreements and license agreements with respect to It’Sugar fulfillment and It’Sugar

locations in New Jersey and New York. The Firm formerly represented the Debtors in various

contractual and lease transactions.

       7.      The Debtors desire to retain Special Counsel and the Firm to represent them in the

negotiation of several ongoing distribution and license agreements as set forth in the Engagement

Letter attached hereto as “Exhibit A” because: (a) Special Counsel has extensive experience and

knowledge relating to same, (b) Special Counsel is very familiar with the Debtors’ businesses



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especially as it relates to the scope of proposed employment, and (c) the Debtors believe Special

Counsel is both able and uniquely qualified to represent them in these Chapter 11 Cases for the

limited purposes described below.

       8.      The professional services Special Counsel and the Firm may be required to render,

in a special counsel role, include but are not limited to (“Professional Services”):

       9.      Negotiating several ongoing distribution agreements and license agreements with

respect to It’Sugar fulfillment and It’Sugar locations in New Jersey and New York. The Debtors

believe that Special Counsel and the Firm are duly qualified to perform the requested Professional

Services.

       10.     The Firm’s proposed compensation shall continue at the Firm’s previously agreed

upon hourly rates with the Debtors at $375.00 for partners, plus reimbursement of actual, necessary

expenses and other charges incurred by the Firm.

       11.     No agreement exists, nor will any be made, to share any compensation received by

the Firm for its services with any other person or firm, except as permitted by 11 U.S.C. § 504(b)

and Bankruptcy Rule 2016.

       12.     No promises have been made to or received by the Firm as to payment or

compensation in connection with these bankruptcy cases other than in accordance with the

provisions of the United States Bankruptcy Code an applicable Bankruptcy Rules.

       13.     To the best of the Debtor’s knowledge, and as set forth in the proposed attorney's

declaration (“Kopelowitz Declaration”) attached to this motion as Exhibit B Special Counsel and

the Firm do not have an adverse interest with respect to the matter on which Special Counsel and

the Firm are to be employed as required by 11 U.S.C. § 327(e).




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       14.     The Firm intends to apply to the Court for allowances of compensation and

reimbursement of out-of-pocket expenses incurred on or after the Petition Date in connection with

this Chapter 11 case on an hourly basis, subject to Court approval and in accordance with the

applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the

guidelines established by the United States Trustee for the Southern District of Florida and any

further orders of this Court.

                       NUNC PRO TUNC RELIEF IS APPROPRIATE

       15.     Pursuant to the Debtors’ request, Special Counsel and the Firm have agreed to serve

as special counsel on and after October 1, 2020 with assurances that the Debtors would seek

approval of its employment and retention nunc pro tunc to October 1, 2020 so that the Firm may

be compensated for its pre-Application services. The Debtors believe that no party in interest will

be prejudiced by the granting of the nunc pro tunc employment, as provided in this Application,

because Special Counsel and the Firm have provided, and continue to provide, valuable services

to the Debtors’ estates in the interim period.

       16.     The Debtors further request authority for Special Counsel and the Firm to maintain

time records in support of any application for compensation and reimbursement of costs with

respect to the Debtors on a consolidated basis without the necessity for tracking time separately as

to each Debtor inasmuch as It’Sugar LLC pays for each of the Debtors’ expenses.



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WHEREFORE, the Debtor respectfully requests entry of an order in the form attached hereto as

Exhibit C (i) authorizing the employment and retention of Special Counsel and the Firm nunc pro

tunc to October 1, 2020, as special counsel to the Debtors in these chapter 11 cases on a general

retainer, pursuant to 11 U.S.C. §§ 327(e) and 330; and (ii) granting such other and further relief as

the Court deems just and proper.

       Dated: December 23, 2020.

                                                       s/ James C. Moon
                                                      James C. Moon, Esquire
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                                                      Telephone: (305) 358-6363
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                                                      Attorneys for Debtors




                                                  5
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served on

December 23, 2020, via the Court's Notice of Electronic Filing upon Registered Users set forth on

the attached Exhibit 1 and via U.S. Mail upon the parties listed on the attached Manual Notice

List and upon the parties listed on the Master Service List, attached as Exhibit 2.


                                                      s/ James C. Moon
                                                     James C. Moon, Esquire




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Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
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                                                                                      Exhibit 1
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Manual Notice List

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U.S. Trustee: (Notice provided via NEF)         United States and its agencies:
Office of The United States Trustee             (via U.S. Mail)
51 SW First Avenue, Room 1204                   Internal Revenue Service
Miami, FL 33130                                 P.O. Box 7346
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City LLC and It’Sugar FLGC LLC                  Notice of Appearances:
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                                                                               Exhibit 2
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                MASTER SERVICE LIST PER LOCAL RULE 2002-1(H)


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                        Case 20-20259-RAM      Doc 211       Filed 12/23/20     Page 17 of 28

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                                                 life        V—
                                              K O P E L O W • ! L OS't ROW:
                                              •I f'M.   WEISEI.&ERC- G.IL9ERT

One West Las Olas Boulevard, Suite 500                                                          Telephone:   954.525.4100
    Fort Lauderdale, Florida 33301                                                               Facsimile: 954.525.4300



                                                 October 1 , 2020


         IT'SUGAR FL I, LLC
         IT'SUGAR LLC
         IT'SUGAR ATLANTIC CITY, LLC
         IT'SUGAR FLGC, LLC
        Attention: Anton Gladnikov
        4960 Conference Way North, Suite 100
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                  Re:       Engagement as Counsel


        Dear Mr. Gladnikov:


               Thank you for retaining Kopelowitz Ostrow, P.A. to represent IT'SUGAR FL I,
        LLC, IT'SUGAR LLC, IT'SUGAR ATLANTIC CITY, LLC, and IT'SUGAR FLGC, LLC
        with respect to ongoing contractual needs for pending retail and distribution programs.
        We look forward to serving your needs in this matter and establishing a mutually
        satisfactory relationship.


               The purpose of this letter is to confirm our engagement as counsel, subject to
        bankruptcy court approval, and to provide you with certain information concerning our
        fees, billing and collection policies, and other terms that will govern our relationship.
        Although we do not wish to be overly formal in our relationship with you, we have found
        it   a   helpful    practice
                                to confirm with our clients the nature and terms of our
        representation.   Attached to this letter are our standard terms of engagement, the
        receipt of which you acknowledge by your signature below. Please review our standard
        terms of engagement and let me know if you have any questions concerning our
        policies.


               We will bill you on a discounted hourly basis for our services rendered on your
        behalf in the amount of $375.00.


             We will issue monthly bills for our services rendered including any costs that
        have been incurred.  Our invoices are due when issued. Should the bills exceed the
        amount on deposit, any overage is due at the time the bill is issued.


               If the terms described above and in the attached terms of engagement are
        satisfactory, please so indicate by signing this letter and returning the signed letter to
        me.




                           Miami         Fort Lau derdale
                                                                          1 ;   n   ^'     Exhibit
                                                                                           Exhibit A
                                                                                                   A
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                Thank you again for the trust and confidence you are placing with our firm.   We
look forward to working with you to bring these matters to a successful conclusion.



                                                 Sincerely,


                                                          -•-7

                                                      />
                                                     /•          >




                                                 BRIAN R. KOPELOWITZ
                                                 For the Firm



Approved this 1st day of October, 2020.



By:
                IT'SUGAR FL l.lLC

By:
                IT'SUGAR L


By:
                IT'SUGAR'AtANTIC CITY, LLC

By:
                IT'SUGAR KGC, LLC
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                                       TERMS OF ENGAGEMENT


        We appreciate your decision to retain KOPELOWITZ OSTROW P. A. as your
legal counsel.  This document explains how we work, our obligations to you, your
obligations to us, what we will do on your behalf, and how our charges will be
determined and billed.


       Our engagement and the services that we will provide to you are limited to the
matter identified in the accompanying letter.        Any changes in the scope of our
representation as described in the letter must be approved in writing. We will provide
services of a strictly legal nature related to the matters described in that letter. You will
provide us with the factual information and materials we require to perform the services
identified in the letter, and you will make such business or technical decisions and
determinations as are appropriate. You will not rely on us for business, investment, or
accounting decisions, or expect us to investigate the character or credit of persons or
entities with whom you may be dealing, unless otherwise specified in the letter.


Confidentiality and Related Matters


            As a matter of professional         responsibility,
                                                     we are required to preserve the
confidences and secrets of our clients.    This professional obligation and the legal
privilege for attorney-client communications exist to encourage candid and complete
communication between a client and his lawyer. We can perform beneficial services for
a   client      only   if we   are   aware   of all   information   that   might   be   relevant   to   our
representation. Consequently, we trust that our attorney-client relationship with you will
be based on mutual confidence and unrestrained communication to facilitate our proper
representation of you.


Fees and Billing


       When establishing fees for services that we render, we are guided primarily by
the time and labor required, although we also consider other appropriate factors, such
as the novelty and difficulty of the legal issues involved; the legal skill required to
perform the particular assignment; time-saving use of resources (including research,
analysis, data and documentation) that we have previously developed and stored
electronically or otherwise in quickly retrievable form; the fee customarily charged by
comparable firms for similar legal services; the amount of money involved or at risk and
the results obtained; and the time constraints imposed by either the client or the cir
cumstances. The firm generally requires a retainer in an amount that is appropriate with
respect to the proposed representation. We generally will apply our services rendered
to your fee deposit. When the fee deposit is at or near exhaustion, we may ask you to
replenish the deposit, and you agree to do so. Alternatively, and unless otherwise
agreed, the retainer may be applied to the last statement rendered in connection with
the representation, with any unused portion being returned to you. We record and bill
our time in one-tenth hour (six minute) increments.
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         Out-of-Pocket Expenses. In addition to legal fees, our statements may include
out-of-pocket expenses that we have advanced on your behalf and our internal charges
(which may exceed direct costs and allocated overhead expenses) for certain support
activities. Alternatively, we may charge for such internal charges as a percentage of the
fees charged. Although we typically do not advance expenses when outside service
providers are required, advanced expenses generally may include such items as travel,
postage that is distinct from regular U.S. mail, filing, recording, certification, and
registration fees charged by governmental bodies.          Our internal charges typically
include such items as overnight courier services, certain charges for terminal time for
computer research and complex document production. We may request an advance
cost deposit (in addition to the advance fee deposit) when we expect that we will be
required to incur substantial costs on behalf of the client. You agree that if required to
travel in connection with your matter, we may arrange "first class" accommodations and
transportation.


       During the course of our representation, it may be appropriate to hire third parties
to provide services on your behalf.     These services may include such things as
consulting or testifying experts, investigators, providers of computerized litigation
support, and court reporters. Because of the legal "work product" protection afforded to
services that an attorney requests from third parties, in certain situations our firm may
assume responsibility for retaining the appropriate service providers. Even if we do so,
however, you will be responsible for paying all fees and expenses directly to the service
providers or reimbursing us for these expenses. You agree that we may instruct the
foregoing service providers to bill you directly for their services rendered.


          Billing.   We bill periodically through-out the engagement for a particular matter,
and our periodic statements are due when rendered.         If our fees are based primarily on
the amount of our time devoted to the matter, our statements will be rendered monthly.
In instances in which we represent more than one person with respect to a matter, each
person that we represent is jointly and severally liable for our fees and expenses with
respect to the representation.        Our statements contain a concise summary of each
matter for which legal services are rendered and a fee is charged.


          If our statements are not paid in a timely manner, we reserve the right to
discontinue services.      You agree we may assert an attorney's lien on your file if we are
not timely paid, thereby retaining all documents provided to us in connection with your
matter until payment is received or adequate assurance of payment (acceptable to us in
our sole discretion) is received.      You also agree that if we are not timely paid or are
discharged from your matter, we may assert a "charging lien" on your file as a lien
against proceeds which may be recovered by you or on your behalf.            If our statement
has not been paid within 30 days from the date of the statement, we impose an interest
charge of 1.25 percent per month (a 15 percent annual percentage rate) from the 30th
day after the date of the statement until it is paid in full. Interest charges apply to
specific monthly statements on an individual statement basis. Any payments made on
past due statements are applied first to the oldest outstanding statement.  We are
entitled to attorneys' fees and expenses if collection activities are necessary. We will be
paid in full if discharged from any matter we are handling for you.
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        You agree that we are authorized to and may receive settlement monies on your
behalf, and that we may deduct from those funds the amount of your outstanding bills
and costs which have been incurred in connection with the matter for which the monies
were received (and any other matter on which we may be working for you) before
remitting the balance of those settlement monies to you. Additionally, if we are holding
monies in trust for your benefit, you authorize us to apply those trust monies to any of
your outstanding invoices before remitting the balance of the funds in trust to you.


      Questions About Our Bills. We invite you to discuss with us any questions that
you have concerning a fee charged for any matter. We want you to be satisfied with the
quality of our services and the reasonableness of the fees that we charge for those
services. We will attempt to provide as much billing information as you require and in
such customary form that you desire.


               Your File.
                   You agree that we may dispose of any and all files we have
maintained in connection with any matter we handle for you so long as we maintain the
file for at least one year after our representation of you is concluded. If you want your
file and/or any papers within it, you agree that it is and will be your obligation to contact
us and to request that your file be delivered to you at our offices, or you will pre-pay us
for delivery of your file to such location as you may request. If you do not contact us,
you agree that we can consider your file to have been abandoned by you, and that we
are not required to give you any notice regarding the disposal of your file and that we
may dispose of it and everything within it.


                                                 Termination


        Upon completion of the matter to which this representation applies, or upon
earlier termination of our relationship, the attorney-client relationship will end unless you
and we have expressly agreed to a continuation with respect to other matters. We
hope, of course, that such a continuation will be the case.       The representation is
terminable at will  by either of us.    The termination of the representation will not
terminate your obligation to pay fees and expenses incurred prior to the termination.




           Your agreement to this engagement constitutes your acceptance of the foregoing
terms and conditions. If any of them is unacceptable to you, please advise us now so
that we can resolve any differences and proceed with a clear, complete, and consistent
understanding of our relationship.
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov
In re:
                                                        Chapter 11

IT’SUGAR FL I LLC,                                      Case No. 20-20259-RAM
IT’SUGAR LLC,                                           Case No. 20-20261-RAM
IT’SUGAR ATLANTIC CITY LLC,                             Case No. 20-20263-RAM
IT’SUGAR FLGC LLC,                                      Case No. 20-20264-RAM
                                                        (Joint Administration pending)
            Debtors.
_______________________________/

                       DECLARATION OF BRIAN R. KOPELOWITZ

         Brian R. Kopelowitz, being duly sworn, says:

         1.     I am an attorney admitted to practice in the State of Florida and the United States

District Court for the Southern District of Florida.

         2.     I am a shareholder and employed by the law firm of Kopelowitz Ostrow, P.A.

(“KO”) with offices located at One West Las Olas Boulevard, Suite 500, Fort Lauderdale, Florida

33301.

         3.     I am familiar with the matters set forth herein and make this declaration

(“Declaration”) in support of the application (“Application”) of It’Sugar FL I LLC; It’Sugar LLC;

II’Sugar Atlantic City LLC; and It’Sugar FLGC LLC (“Debtors”) for authority to employ and

retain KO as attorneys for the Debtors for the purpose of negotiating several ongoing distribution

agreements and license agreements with respect to It’Sugar fulfillment and It’Sugar locations in

New Jersey and New York locations. KO proposes to charge its normal hourly rates in effect from

time to time (less a 25% discount to be applied to each invoice consistent with pre-petition billing)

and in accordance with KO’s normal reimbursement policies, in compliance with Bankruptcy

Code sections 327(e), 328(a) and 330, and to provide disclosure required under Rules 2014(a),


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                                                                                     Exhibit B
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2016 and 5002 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”) and Rules

2014-1 and 2016-1 of the Local Rules for the United States Bankruptcy Court for the Southern

District of Florida (“Local Rules”).

       4.      KO has served as counsel to the Debtors since April, 2019 for various contractual

and lease transactions. As such, KO is familiar with the Debtors’ business and financial affairs

and is well qualified to provide the services required by the Debtors.

       5.      To the best of my knowledge and information, no member of KO has an interest

materially adverse to the interests of the Debtors’ estates or to any class of creditors or equity

security holders of the Debtors, by reason of any direct or indirect relationship to, connection with,

or interest in, the Debtors, as specified in subparagraph (C) of Section 101(14) of the Bankruptcy

Code, or for any other reason.

       6.      KO neither holds nor represents any interest adverse to the Debtors and is a

“disinterested person” within the scope and meaning of Section 101(14) of the Bankruptcy Code.

       7.      KO discloses the following “connections”:

               a)     In the past, and ongoing, KO has represented BBX Capital, Inc. (“BBX”)
       and its subsidiaries, Heartwood 47, LLC, BBX Sweet Holdings, LLC, and Florida Asset
       Resolution Group, LLC, in various real estate litigation matters, as well as various contract
       reviews, and other general legal needs as requested by BBX Capital Corp. and its
       subsidiaries. Some of those matters are ongoing, but are not related to Debtors.

              b)     From time to time, Brian Kopelowitz has represented BBX officers Seth
       Wise and Jarett Levan in various personal legal matters. These representations have
       concluded and those matters were, at all times, unrelated to the Debtors.

               c)      From time to time, KO has represented BBX Sweet Holdings, LLC in
       various commercial lease negotiations, and for general legal needs, as requested by BBX
       Sweet Holdings, LLC. Additionally, KO represented BBX Sweet Holdings, LLC with
       respect to the acquisition of Anastasia Confections in Orlando, Florida.

              d)     BBX Capital Florida LLC owns BBX Sweet Holdings LLC, which owns
       It’Sugar Holdings LLC, which owns 90% of the common membership interest It’Sugar
       LLC, which owns the other Debtors.


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               e)     KO has purchased products from Hoffman’s Chocolates as seasonal gifts.
       In the aggregate, these purchases were for nominal amounts.


       8.      Neither I nor our firm has or will represent any other entity in connection with these

cases, and neither I nor our firm will accept any fee from any other party or parties in this case,

except the Debtors, unless otherwise authorized by the Court.

       9.      Prepetition, KO was paid the following amounts from the Debtor, It’Sugar LLC:

               a)      October 23, 2019        $525.00
               b)      November 22, 2019       $37.50
               c)      January 20, 2020        $13,251.50
               d)      February 19, 2020       $787.50
               e)      May 4, 2020             $6,712.50
               f)      May 26, 2020            $5,304.75
               g)      June 15, 2020           $6,975.00
               h)      September 24, 2020      $300.00

       10.     The professional fees and costs incurred by KO in the course of its representation

of the Debtors in these cases shall be subject in all respects to the application and notice

requirements of 11 U.S.C. §§ 327, 330 and 331 and Bankruptcy Rule 2014 and 2016.

       11.     There is no agreement of any nature, other than the engagement agreement of our

firm, as to the sharing of any compensation to be paid to the firm. No promises have been received

by KO, nor any member or associate thereof, as to compensation in connection with this case other

than in accordance with the provisions of the Bankruptcy Code.

       12.     No attorney at KO holds a direct or indirect equity interest in the Debtors, including

stock or stock warrants, or has a right to acquire such an interest.

       13.     No attorney at KO is or has served as an officer, director or employee of the Debtors

within two years before the Petition Date.



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        14.     No attorney at KO is in control of the Debtors.


        1 5.    No attorney at KO is or has served as an officer, director or employee of a financial


advisor that has been engaged by the Debtors in connection with the offer, sale or issuance of a


security of the Debtors, within two years before the Petition Date.


        1 6.    No attorney at KO has represented a financial advisor of the Debtors in connection


with the offer, sale or issuance of a security of the Debtors, within three years before the Petition


Date.


        1 7.    No attorney at KO has any other interest, direct or indirect, that may be affected by


the proposed representation.


        18.     Except as set forth herein, no attorney at KO has had or presently has any material


connection with the captioned Debtors, the Debtors' creditors, any other party in interest or their


respective attorneys and accountants, the United States trustee, or any person employed in the


Office of the United States trustee, or any matters in which the firm is to be engaged, except that


I, KO, or our attorneys, (i) may have appeared in the past, and may appear in the future, in other


cases in which one or more of such parties may be involved; and (ii) may represent or may have


represented certain of the Debtors' creditors, in matters unrelated to these cases.


        Pursuant to 28 U.S.C. § 1746, 1 declare under penalty of perjury that the foregoing is true


and correct.


        Executed on     / &
                              I'D ^ acj - 2020-
                                               BRIA   J^KOPELOWITZ



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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov

In re:                                              Case No. 20-20259-RAM
                                                    (Jointly Administered)
It’Sugar FL I LLC, et al.,
                                                    Chapter 11
      Debtors.
_______________________________/

   ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF BRIAN R.
   KOPELOWITZ, ESQ. AND THE LAW FIRM OF KOPELOWITZ OSTROW, P.A.
        AS SPECIAL COUNSEL NUNC PRO TUNC TO OCTOBER 1, 2020

         THIS MATTER came before the Court on _____________, at _____. upon the hearing

to consider the Application of the Debtors for an Order Authorizing the Employment and

Retention of Brian R. Kopelowitz, Esquire and the Law Firm of Kopelowitz Ostrow, P.A. as

Special Counsel Nunc Pro Tunc to October 1, 2020 [ECF No. ___] (the “Application”), pursuant

to § 327(e) of Title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014(a), 2016

and 6003 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules

2014-1 and 2016-1 of the Local Rules for the United States Bankruptcy Court for the Southern



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                                                                                Exhibit C
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District of Florida (the “Local Rules”); the Court having reviewed the Application, the

declaration of Brian R. Kopelowitz, Esq. in support of the Application, (the “Kopelowitz

Declaration”); the Court being satisfied based upon the representations made in the Application

and the Kopelowitz Declaration that (a) Brian R. Kopelowitz, Esquire (“Special Counsel”) and

the Law Firm of Kopelowitz Ostrow P.A. (the “Firm”) does not represent or hold any interest

adverse to the debtor or to the estate with respect to the matter on which such attorney is to be

employed and Local Rule 2014-1; due and proper notice of the Application having been

provided, and after due deliberation and sufficient cause appearing therefore, it is accordingly

       ORDERED AND ADJUDGED as follows:

       1.      The Application is GRANTED nunc pro tunc to October 1, 2020.

       2.      It’Sugar FL I LLC, It’Sugar LLC (“ITS or Sugar”), It’Sugar Atlantic City LLC,

and It’Sugar FLGC LLC (collectively, the “Debtors”) are authorized to employ and retain the

Firm as their special counsel in these Chapter 11 cases in accordance with the terms and

conditions set forth in the Application and this Order.

       3.      The Firm shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ Chapter 11 cases in

compliance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the

Local Rules, guidelines established by the Office of the United States Trustee for the Southern

District of Florida and any other applicable procedures and orders of the Court.

       4.      Time records in support of any application for compensation and reimbursement

of costs may be maintained by the Firm with respect to the Debtors on a consolidated basis

without the necessity for tracking time separately as to each Debtor.




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            Case 20-20259-RAM          Doc 211          Filed 12/23/20   Page 28 of 28




       5.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.

                                                  ###
Submitted By:
James C. Moon, Esquire
Florida Bar No. 938211
jmoon@melandbudwick.com
MELAND BUDWICK, P.A.
Counsel for Debtors
3200 Southeast Financial Center
200 South Biscayne Boulevard
Miami, Florida 33131
Telephone:    (305) 358-6363
Telefax:      (305) 358-1221

Copies Furnished To:
James C. Moon, Esquire, is directed to serve copies of this Order on all parties in interest and to
file a Certificate of Service.




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